 Case 18-03036       Doc 137     Filed 12/14/18 Entered 12/14/18 16:35:26      Desc Main
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           IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
In re:
                                  )
         Ace Motor Acceptance     )               Case No.: 18-30426
              Corporation         )               Chapter 11
                     Debtor(s)    )
                                  )
     Ace Motor Acceptance         )
            Corporation           )
                  Plaintiff(s)    )               Adv. Proc. No.: 18-3036
 v.                               )
     McCoy Motors, LLC;           )
     McCoy Motors, LLC d/b/a Ride )
            Fast;                 )
     Robert McCoy, Jr.            )
     Misty McCoy                  )
                  Defendant(s)    )
________________________________ )


                               NOTICE TO APPELLANT

         The Clerk acknowledges the receipt and filing of the notice of appeal of two

orders in the above-referenced case. Please be advised that, pursuant to 28 U. S. C.

§1930(b), a filing fee for the notice of appeal of each order must be collected in the

amount of $298.00 immediately by the Clerk.

         Please forward this fee in the amount of $298.00 within 10 days of this notice.

         Dated: 12/14/2018

                                           Steven T. Salata
                                           Clerk of Court



                                           By: Tara E. Salmons
                                           Deputy Clerk
